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February 13, 2025


Sent via ECF


Hon. Ona T. Wang
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-1312

cc: All Counsel of Record Line (via ECF)

RE:       The New York Times Co. v. Microsoft Corp., et al. No. 1:23-cv-11195
          New York Daily News, LP, et al. v. Microsoft Corp., et al., No. 1:24-cv-03285
          The Center for Investigative Reporting, Inc. v. OpenAI, Inc., No. 1:24-cv-04872

Dear Judge Wang:

Pursuant to the Court’s January 24, 2025 Order (Dkt. 441), and on behalf of all parties in the above-
referenced actions, counsel for OpenAI submits the below chart summarizing the status of various
discovery disputes that were addressed at the January 22, 2025 conference.

Sincerely,

KEKER, VAN NEST & PETERS LLP i

/s/ Andrew Dawson
Andrew Dawson
Counsel for OpenAI Defendants




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                                                             I.      Disputes Related to Plaintiffs’ Requests for Inspection
                                                                                                               Joint Statement:

                                                                                                                The Parties have met and conferred, and no further action is required from
                                                                                                                the Court at this time.

                                                                                                                OpenAI ran Plaintiffs’ “URL Search” of OpenAI training data and
                                                                                                                produced the search results to The Times and Daily News Plaintiffs on
                                                                                                                January 29, 2025. Plaintiffs are continuing to investigate these results.
 305 1        11/1/24      305
                                    OpenAI’s                                                                    As directed by the Court, the parties met and conferred regarding proposed
                                                         News Plaintiffs       OpenAI         Resolved.
                                    Training Data                                                               datasets and threshold values for the proposed “N-Gram Search” of
  328        11/20/24      345                                                                                  OpenAI training data. OpenAI will attempt to run an agreed N-gram
                                                                                                                search on an identified set of training datasets and produce the results. If
                                                                                                                OpenAI encounters technical difficulties, it will raise them with Plaintiffs
                                                                                                                for further meet-and-confer discussions.




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       Unless otherwise indicated, all docket numbers are from New York Times Company v. Microsoft Corp., et al., Case No. 1:23-cv-11195-SHS.
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                                                                                          Plaintiffs’ Position: OpenAI has refused to give The Times and Daily
                                                                                          News Plaintiffs a clear answer as to what amount of output log data
                                                                                          OpenAI deleted for each product at issue, and OpenAI will still not agree
                                                                                          to preserve relevant output log data. Plaintiffs have reason to believe that
                                                                                          OpenAI has deleted—and continues to delete—a substantial volume of
                                                                                          relevant output log data based on OpenAI’s representations to the Court
                                                                                          about its privacy policies and deposition testimony from OpenAI’s
                                                                                          30(b)(6) custodial witness. For example, with respect to API output data,
                                                                                          OpenAI’s general “default policy” is to       delete     data after 30 days.
                                                                                          By contrast, for ChatGPT user conversations, OpenAI generally deletes
                                                                                          data when requested by a user. Furthermore, although OpenAI’s 30(b)(6)
                                                                                          custodial witness testified that OpenAI has the ability to preserve output
                                                                         The Court        data that would ordinarily be slated for deletion under OpenAI’s policies
                                                                         heard            (which expressly permit OpenAI to retain data in order to comply with
                                                                         argument at      its “legal obligations”), OpenAI has only taken such steps with respect to
                                                                         the January      specific accounts Defendants believe are referenced in the complaints.
                                                                         22, 2025         That is, OpenAI has only taken steps to preserve output log data for user
                                                                         conference,      accounts owned or controlled by Plaintiffs to conduct their pre-suit
                                                                         and ordered      investigation–which OpenAI believes is helpful for its defenses–and is
                           OpenAI’s Log                                  the Parties to   refusing to preserve output log data for third-party user accounts that
379        1/13/25   420                  News Plaintiffs   OpenAI
                           Output Data                                   meet and         support Plaintiffs’ claims. The Parties met and conferred on February 7,
                                                                         confer and       2025, to discuss potential technical means to preserve output log data
                                                                         inform the
                                                                                          relevant to the litigations, and OpenAI has not provided Plaintiffs with
                                                                         Court of the
                                                                                          any specific technical proposal or the timing of any such proposal.
                                                                         status of this
                                                                         issue in this    Plaintiffs asked OpenAI to suspend its deletion policies on an interim
                                                                         joint chart.     basis while the Parties continue to meet and confer on possible technical
                                                                         (Dkt. 441)       solutions, and OpenAI has refused.


                                                                                          In view of the relevance and importance of OpenAI’s output log data to
                                                                                          the issues in the case, Plaintiffs renew their request in ECF 379 for the
                                                                                          Court to order OpenAI to: (1) preserve its output log data, including
                                                                                          output log data that contains News Plaintiffs’ content, hereinafter, and
                                                                                          (2) identify all output log data that has been destroyed, when it was
                                                                                          destroyed, and whether it is retrievable.

                                                                                          OpenAI’s position: Rather than provide the Court with a status update
                                                                                          on the parties’ compliance with the Court’s order, Plaintiffs make a
                                                                                          series of unsupported assertions in an attempt to relitigate their motion
                                                                                          and request the same relief that was already denied.      Plaintiffs
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                                                          reassert here—as they did in their motion—that OpenAI is “not
                                                          agree[ing] to preserve relevant output log data” and that “OpenAI is
                                                          refusing to preserve output log data for third-party user accounts that
                                                          support Plaintiffs’ claims.” That is not true. OpenAI’s default policy is
                                                          to retain—that is, to preserve—all consumer ChatGPT conversations.
                                                          That is why OpenAI has retained billions upon billions of such user
                                                          conversations. See ECF 425 ¶ 4. Indeed, the amount of data makes
                                                          producing it all impractical, which is why the parties are in the midst of
                                                          exploring approaches to sampling the data. That OpenAI also respects
                                                          the privacy decisions of its users, including those that use the select
                                                          offerings that are subject to separate product-specific privacy policies
                                                          and contractual obligations (such as the API),          does not change
                                                          the fact that, absent a user request to the contrary, OpenAI retains
                                                          consumer ChatGPT conversations.

                                                          The Court should decline Plaintiffs’ improper request for the Court to
                                                          reconsider its order at ECF 411. As explained below, and as required
                                                          by the Court’s order, the parties have been—and will continue to—
                                                          engage in constructive conferrals to address the technological and
                                                          privacy considerations implicated by Plaintiffs requests. That process is
                                                          working and OpenAI looks forward to continuing to work with
                                                          Plaintiffs constructively, rather than relitigating matters that the Court
                                                          has already addressed.

                                                          At OpenAI’s request, the parties met and conferred on February 7,
                                                          2025, as the Court directed, regarding the privacy and technological
                                                          considerations implicated by Plaintiffs’ request in the motion at ECF
                                                          379. Given the Court’s directive at the last discovery hearing to focus
                                                          on a path forward, OpenAI sought to discuss Plaintiffs’ contention—
                                                          expressed in prior correspondence—that “OpenAI has tools and other
                                                          mechanisms” that could address Plaintiffs’ requests. OpenAI explained
                                                          why, based on its investigation to date, the specific tool Plaintiffs
                                                          identified did not function in a way that aligned with the request
                                                          Plaintiffs were making. Plaintiffs asked a series of additional questions
                                                          related to that tool and its capabilities, which OpenAI agreed to look
                                                          into. OpenAI is currently investigating those highly technical
                                                          questions, which is a necessary step in the process of determining what
                                                          technical options might satisfy Plaintiffs’ demands while at the same
                                                          time taking account of the technological and privacy issues implicated
                                                          by wholesale retention. At the same time, OpenAI is investigating
                                                          the over two dozen other questions related to user conversation data that
                                                          Plaintiffs have posed in a series of recent letters–matters the parties
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                                                          have been and will continue to address in correspondence and
                                                          upcoming conferrals. In short, the conferral process the Court
                                                          contemplated in its Order at ECF 411 is underway and should continue.




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                                                                                                      Plaintiffs’ position: The Times and Daily News Plaintiffs sent a letter to
                                                                                                      Microsoft on February 3, 2025, outlining topics and questions to be
                                                                                                      addressed by Microsoft’s experts during the informal technical
                                                                                                      discussion into discovery of Microsoft’s log data, including questions
                                                                                                      about how Microsoft generated the sample log datasets, how Microsoft
                                                                                                      stores the log datasets, and the meanings of specific fields contained in
                                                                                                      Microsoft’s log files. On February 10, 2025, technical experts for The
                                                                                                      Times and Daily News Plaintiffs attended an informal discussion with
                                                                                                      Microsoft’s outside consultants. No Microsoft employees attended the
                                                                                                      discussion, and because Microsoft’s outside consultants’ knowledge of
                                                                                                      Microsoft’s log data was limited to the same materials produced to
                                                                                    The Court         Plaintiffs, the outside consultants could not answer many of the questions
                                                                                    heard             raised during the discussion and previously outlined in the February 3
                                                                                    argument at       letter. On February 12, The Times and Daily News Plaintiffs sent a letter
                                                                                    the January       to Microsoft to follow up on items that the consultants were not able to
                                                                                    22, 2025          answer during the informal discussion, and requested responses by
                                                                                    conference,       February 17. News Plaintiffs will continue to meet and confer with
                                                                                                      Microsoft on discovery into the log data.
                                                                                    and ordered
                               Microsoft’s Log                                      the Parties to
  311        11/18/24   338                      News Plaintiffs    Microsoft                         Microsoft’s position: Microsoft’s experts were prepared to answer the
                               Output Data                                          meet and
                                                                                    confer and        questions regarding the nature and accessibility of the data in Plaintiffs’
                                                                                    inform the        February 3 letter, and, to the extent Plaintiffs asked those questions,
                                                                                    Court of the      Microsoft’s experts provided responses. For instance, Microsoft’s
                                                                                    status of this    experts provided substantial information to aid Plaintiffs’ understanding
                                                                                                      of the data and to aid in developing a sampling and querying
                                                                                    issue in this
                                                                                                      methodology, including, but not limited to, describing what data is
                                                                                    joint chart.      collected and what data is not collected, how the data is stored and can
                                                                                    (Dkt. 441)        be accessed, identifying the most relevant data fields, providing
                                                                                                      suggestions of how to sample the data, and identifying options for how
                                                                                                      to search for Plaintiffs’ works, if they exist, in the data. Indeed,
                                                                                                      Microsoft’s experts had detailed answers prepared, and at the top of the
                                                                                                      meeting, suggested going through the questions in Plaintiffs’ letter one
                                                                                                      by one to provide answers. Plaintiffs instead spent much of the meeting
                                                                                                      on other questions not previously provided to Microsoft, many of which
                                                                                                      did not relate to the nature and accessibility of the data. Microsoft’s
                                                                                                      experts were well prepared for the meeting, having spent many hours
                                                                                                      collecting information needed to respond to Plaintiffs’ February 3
                                                                                                      questions, including calls with multiple Microsoft engineers from
                                                                                                      multiple teams, spread across global time zones. No single person
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                                                                                                        (including Microsoft engineers) has complete knowledge of the data
                                                                                                        infrastructure and each of the hundreds of data fields and sub-fields as it
                                                                                                        is highly complex. To the extent Microsoft’s experts were unable to
                                                                                                        answer each and every question during the meeting, that was largely the
                                                                                                        result of Plaintiffs’ deviation from their provided list of questions and
                                                                                                        seeking information beyond the scope of the call. Microsoft has
                                                                                                        received Plaintiffs’ February 12 letter, is investigating the “follow-up
                                                                                                        items” (most of which are new questions), and will provide responses to
                                                                                                        Plaintiffs in due course. Microsoft will continue to meet and confer
                                                                                                        with Plaintiffs on discovery into the log data.
                                                     II.     Disputes Related to Custodians and Custodial Documents
                                                                                                        Plaintiffs’ position: The News Plaintiffs have made every effort to meet-
                                                                                                        and-confer with Microsoft in good faith to resolve this dispute, including
                                                                                                        after the January 22, 2025 hearing. Consistent with this Court’s
                                                                                                        instructions, the News Plaintiffs have narrowed their search term
                                                                                                        proposal to focus on key gaps in Microsoft’s custodial review. But
                                                                                                        Microsoft’s approach to search terms continues to violate the ESI Order,
                                                                                      The Court         as well as this Court’s recent directions. Microsoft should be ordered to
                                                                                      heard             apply the search terms in the News Plaintiffs’ narrowed proposal made
                              Microsoft’s
                                                                                      argument at       on February 6, 2025.
                              search terms
                                                                                      the January
                              (The News
                                                                                      22, 2025
                              Plaintiffs request                                                        Microsoft has violated the ESI Order and this Court’s directions in at least
                                                                                      conference,
                              that Microsoft                                                            three ways. First, between July and December 2024, the News Plaintiffs
                                                                                      and ordered
                              run additional                                                            made six different search term proposals to Microsoft. Yet Microsoft
                                                                                      the Parties to
  381        1/13/25   411    search terms for     News Plaintiffs    Microsoft                         accepted just 2 of the more than 100 search terms the News Plaintiffs
                                                                                      meet and
                              its custodians’                                                           requested, in violation of the ESI Order, which expressly contemplates a
                                                                                      confer and
                              ESI, and that                                                             role for the receiving party in crafting search terms. Dkt. 251 at 1; see
                                                                                      inform the
                              Microsoft extend                                                          also Jan. 22, 2025 Hearing Tr. at 64:23-65:10 (counsel for Microsoft
                                                                                      Court of the
                              the date range                                                            admitting that “we ran our own [search] terms” even though “The Times
                                                                                      status of this
                              for collections to                                                        never agreed to our search terms”). Second, Microsoft took 25 business
                                                                                      dispute in this
                              July 1, 2024)                                                             days (from December 30, 2024 until February 4, 2025) to return hit
                                                                                      joint chart.
                                                                                      (Dkt. 441)        counts for the News Plaintiffs’ December 30 proposal, which far exceeds
                                                                                                        the 3-business day turnaround required by the ESI Order. Dkt. 251 at 1.
                                                                                                        Third, in violation of both the ESI Order and this Court’s instructions,
                                                                                                        Microsoft waited two weeks after the January 22 hearing to simply send
                                                                                                        the News Plaintiffs the list of search terms that Microsoft ran–and did so
                                                                                                        only after News Plaintiffs followed up        five times. See Jan. 22, 2025
                                                                                                        Tr. at 68:1-4 (instructing Microsoft to “put [the list of terms used]
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                                                                                         together in one, send it to The Times, have the meet-and-confers in the
                                                                                         next two weeks about whether there are gaps, and think about what you
                                                                                         might want to do about those gaps”). Worse, Microsoft still refuses to
                                                                                         provide hit counts for the search terms that it ran , in violation of the
                                                                                         ESI Order. See Dkt. 251 at 1.

                                                                                         The best path forward is to order Microsoft to apply the search terms in
                                                                                         the News Plaintiffs’ February 6, 2025 narrowed proposal, which
                                                                                         reasonably yields approximately 370,000 additional documents for
                                                                                         review.         News Plaintiffs drafted this proposal immediately after
                                                                                         receiving Microsoft’s list of terms and designed it to address the
                                                                                         substantial gaps in the search terms that Microsoft unilaterally selected.
                                                                                         Indeed, Microsoft’s terms were clearly crafted for the separate Authors
                                                                                         Guild case, particularly because they include terms like “books1” and
                                                                                         “books2”, which are datasets comprised of book content. Meanwhile,
                                                                                         Microsoft refuses to run terms designed to find documents about
                                                                                         “generative search,” a topic that Microsoft characterizes as unique to the
                                                                                         News Cases. See Dkt. 148 at 2 (Microsoft arguing that “generative
                                                                                         search” is a “separate new technology [that] underpins each of plaintiffs’
                                                                                         counts in the Newspaper Cases” and that this technology is “not at issue”
                                                                                         in the class actions). Not surprisingly, the News Plaintiffs have received
                                                                                         almost no documents addressing the impact of generative search on news
                                                                                         publishers. It is long past time to finish search term negotiations, and the
                                                                                         News Plaintiffs’ February 6 proposal fairly addresses the substantial gaps
                                                                                         in Microsoft’s custodial document review. Finally, News Plaintiffs
                                                                                         disagree with Microsoft that resolving this dispute can be postponed until
                                                                                         the next hearing in April. That approach undermines News Plaintiffs’
                                                                                         goal to promptly begin depositions.


                                                                                         Microsoft’s position: As Microsoft has communicated to Plaintiffs,
                                                                                         Microsoft is focused on working with Plaintiffs to move the issue of
                                                                                         search term negotiations forward. To that end, following the January 30
                                                                                         conference, Microsoft provided to Plaintiffs (i) a comprehensive list of
                                                                                         the search terms already used to collect documents from each of the 30
                                                                                         agreed-on custodians; (ii) the hit report for Plaintiffs’ previous search
                                                                                         terms proposal, including adding in the extended date range Plaintiffs
                                                                                         are requesting, which yielded approximately 650,000 unique parent-
                                                                                         level items; and (iii) a hit report for its own, already-used terms for that

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                                                                                         extended date range. In addition, Microsoft also provided Plaintiffs a
                                                                                         search term hit report for Plaintiffs’ February 6 proposal. The hit report
                                                                                         revealed that the Plaintiffs’ February 6 proposal yielded over 370,000
                                                                                         unique parent-level items. While this number is smaller than Plaintiffs’
                                                                                         previous proposal, Microsoft estimates that the parent-level items in the
                                                                                         most recent proposal will yield at least 600,000 (not 370,000) new
                                                                                         documents to review once family documents are taken into account, and
                                                                                         this is in addition to the more than 600,000—and counting—custodial
                                                                                         documents that Microsoft has already reviewed. As of the filing of this
                                                                                         update, Microsoft is preparing a line-by-line response, including
                                                                                         counterproposals where appropriate, to Plaintiffs’ February 6 list of 100
                                                                                         requested terms. In short, the parties are making progress in this area
                                                                                         and should continue to meet and confer to finalize search terms.

                                                                                         In the meantime, Microsoft disagrees with Plaintiffs’ characterizations
                                                                                         of its February 6 proposal, which does not “focus on key gaps.”
                                                                                         Plaintiffs complain that Microsoft’s terms were crafted for the Authors
                                                                                         Guild case and pick two terms, but Plaintiffs’ selection of those two
                                                                                         terms ignores the dozens of terms Microsoft used that target both issues
                                                                                         common across cases (such as the training of OpenAI’s models and the
                                                                                         business relationship between Microsoft and OpenAI) and issues unique
                                                                                         to the News cases that incorporate the products at issue, the News
                                                                                         Plaintiffs themselves, and/or news. More importantly, Plaintiffs’
                                                                                         proposal did not focus on “gaps,” as the Court instructed. This will be
                                                                                         the focus of many of Microsoft’s line-by-line response to Plaintiffs’
                                                                                         February 6 proposal.

                                                                                         The February 6 proposal also includes many very general terms that
                                                                                         make no attempt to target documents likely to be relevant to this case.
                                                                                         As such, the best path forward is not to simply require review of the
                                                                                         600,000+ documents resulting from the search terms in the News
                                                                                         Plaintiffs’ February 6 proposal. Instead, and consistent with the Court’s
                                                                                         directive to meet and confer and fill the gaps, Microsoft is providing a
                                                                                         line-by-line response, including counterproposals where appropriate, to
                                                                                         Plaintiffs’ February 6 list of 100 requested terms. Microsoft will
                                                                                         provide its proposal by February 18, and Microsoft expects that
                                                                                         following this the parties will be able to continue to narrow and resolve
                                                                                         gap-filling disputes over the search terms in Plaintiffs’ latest February 6

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                                                                                                        proposal, and the parties can raise any remaining disputes with the
                                                                                                        Court at the April 10 conference.




                                                       III.    Dispute Related to OpenAI’s Document Productions
                                                                                                        Plaintiffs’ position: The Times maintains its request for an order
                                                                                                        requiring OpenAI to identify any relevant domestic proceedings in which
                                                                                                        it has produced documents related to the issues in this case.

                                                                                                        But as a first step, OpenAI should produce any interrogatory responses
                                                                                                        or responses to written questions that OpenAI has submitted for the
                                                                                      The Court         Delaware Attorney General’s ongoing investigation into OpenAI’s
                                                                                      heard             transition           to          a           for-profit          company.
                                                                                      argument on       https://www.reuters.com/technology/artificial-intelligence/openais-
                               The Times’s                                            this motion at
                               RFP 2                                                                    altman-says-musk-offer-is-tactic-to-try-mess-with-us-2025-02-11/
                                                                                      the January       (February 12, 2025 news article reporting that the Delaware Attorney
                               (documents                                             22, 2025
                               OpenAI has                                                               General “is reviewing OpenAI’s proposed changes to ensure the
  322-                                                                                conference,       company is ‘adhering to its specific charitable purposes for the benefit of
 Sealed                        submitted to                                           and ordered
             11/19/24   339    domestic                 NYT           OpenAI                            the public beneficiaries, as opposed to the commercial or private interests
  323-                                                                                the parties to    of OpenAI’s directors or partners.’”). This approach targets highly
                               governmental                                           meet-and-
 Public                        entities relating                                                        relevant documents that have not otherwise been produced and are easily
                                                                                      confer and to     obtained. See A&M Recs., Inc. v. Napster, Inc., 239 F.3d 1004, 1015 (9th
                               to the allegations                                     provide
                               in the                                                                   Cir. 2001) (“This ‘purpose and character’ element also requires the
                               Complaint)                                             a status update   district court to determine whether the allegedly infringing use is
                                                                                      in this joint     commercial or noncommercial.”). Yet OpenAI still refuses to even
                                                                                      chart. (Dkt.      answer questions about this investigation, arguing that this information
                                                                                      441)              is irrelevant. Meanwhile, OpenAI appears intent on arguing that it was
                                                                                                        engaged in (and continues to be engaged in) a non-commercial use of The
                                                                                                        Times’s work, making the commercial nature of OpenAI’s business
                                                                                                        highly relevant.

                                                                                                        OpenAI below tries to sidestep the relevance of this issue by arguing the
                                                                                                        parties should be discussing The Times’s other RFPs. The parties should
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                                                                                       not get bogged down on whether the information requested here falls
                                                                                       under RFP 2 alone or some other RFP as well. The Times is making a
                                                                                       revised request for targeted information that is responsive to this RFP,
                                                                                       and the requested information has not already been produced. Because
                                                                                       OpenAI has been unwilling to reconsider its position, the parties remain
                                                                                       at an impasse, and The Times respectfully asks the Court to adopt its
                                                                                       proposed approach for this dispute, starting with this narrowed first step.

                                                                                       OpenAI’s position: The Court previously rejected The Times’s motion
                                                                                       to compel with regard to documents submitted to foreign regulators
                                                                                       (ECF 398), and it should deny this parallel motion as well.

                                                                                       The Times has issued 130 RFPs in this matter, which canvass all
                                                                                       conceivably relevant topics. As relevant here, it has also requested all
                                                                                       documents submitted to domestic governmental entities, without regard
                                                                                       to whether those materials have been produced in response to other
                                                                                       RFPs. The Court previously encouraged The Times to focus its
                                                                                       discovery requests on “underlying information . . . relevant to the case,”
                                                                                       not on materials that might have been deemed relevant in some separate
                                                                                       context. (Transcript, Jan. 22, 2025, at 75:1-5). Indeed, with regard to
                                                                                       alleged “commercial nature” of OpenAI’s business, The Times has
                                                                                       already issued an RFP focused on precisely that issue. See RFP 11.
                                                                                       That RFP has been the subject of motion practice and extensive meet-
                                                                                       and-confer discussions. The Times should not be permitted to end-run
                                                                                       around those negotiations simply by pointing to public reporting of a
                                                                                       state regulator’s entirely distinct inquiry. This is particularly true when
                                                                                       the alleged relevance is a corporate change that has not even occurred
                                                                                       yet, and where The Times blatantly misstates the alleged relevance -
                                                                                       there is no dispute that OpenAI has had a for-profit entity since 2019.
                                                                                       The Times is engaged in a fishing expedition, and its motion to compel
                                                                                       should be denied.

                                                                                       The Times’s suggestion that it is offering a narrowed resolution to this
                                                                                       RFP is false. It has clarified in meet-and-confer discussions that it
                                                                                       expects OpenAI to canvas other, unidentified regulatory engagements
                                                                                       for potentially relevant materials. Instead of casting about for materials
                                                                                       potentially deemed relevant in other contexts, The Times should simply
                                                                                       seek discovery of materials it believes to be relevant in this case.

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                                                   IV.     Disputes Related to Microsoft’s Document Productions
                                                                                                     Plaintiffs’ position: This motion to compel addresses three categories
                                                                                                     of RFP disputes with Microsoft. The parties have continued to meet-
                              The Times’s                                                            and-confer and      have resolved category 3 (documents concerning the
                              RFPs 61, 113-14                                                        impact of Defendants’ products on copyright owners) and a portion of
                              (documents                                                             category 1.     M     aterial disputes remain as to a portion of category
                              concerning                                                             1 as well as category     2.
                              licensing
                              negotiations and                                                       For category 1, the parties have resolved RFPs 113-14, which seek
                              the market for                                                         documents concerning the market for the at-issue data. But disputes
                              model training                                        Partially        remain as to RFP 61, which seeks documents concerning licensing
                              data and the                                          Resolved:        negotiations. Specifically, The Times seeks documents concerning
                              market for                                            The Court        licensing negotiations for the at-issue generativeAI models and products
                              content for                                           heard            that never resulted in a final license agreement. Consistent with the
                              retrieval-                                            argument on      Court’s instructions at the January 22, 2025 hearing, The Times made a
                              augmented                                             this motion at   narrowed proposal that focuses on licensing negotiations for news
                              generation                                            the January      content. See Jan. 22, 2025 Tr. at 103:7-9 (“I think that you should narrow
                              (“RAG”) or                                            22, 2025         the scope of that meet-and-confer to what the market might be in the
  396        1/13/25   407    generative             NYT           Microsoft        conference,      News cases.”). The parties are continuing to meet-and-confer about this
                              search; The                                           and ordered      narrowed proposal, so The Times can understand the extent to which
                              Times’s RFP 123                                       the Parties to   Microsoft possesses responsive documents and craft an appropriate
                              (documents                                            meet and         demand.
                              concerning                                            confer and to
                              Microsoft’s                                           provide an       For category 2 (RFP 123), Microsoft continues to argue that it need not
                              investments in                                        update in this   produce documents about its 2024 investments in OpenAI, claiming that
                              OpenAI); The                                          joint chart.     2024 conduct is somehow irrelevant since The Times filed the lawsuit in
                              Times’s RFP 109                                       (Dkt. 441)       December 2023. That argument ignores the allegations of ongoing
                              (documents                                                             misconduct and Microsoft’s ongoing liability for contributory and
                              concerning the                                                         vicarious copyright infringement. FAC ¶¶ 66, 151, 169. Microsoft’s 2024
                              impact of                                                              investments in OpenAI are squarely relevant, and collecting these
                              Defendants’                                                            documents entails a minimal burden. Indeed, Microsoft has never
                              products on                                                            opposed this discovery on burden grounds. To move things forward,
                              copyright                                                              Microsoft should produce documents about the $750 million investment
                              owners).                                                               in OpenAI that it reportedly made in or around October 2024.
                                                                                                     https://www.cnbc.com/2024/10/30/microsoft-cfo-says-openai-
                                                                                                     investment-will-cut-into-profit-this-quarter.html. Microsoft should also

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                     Dkt.                                                                                   Parties’ Shorthand Positions
Dkt. No.     Filed           Dispute      Dispute       Responding        Dispute
                     No.
                                                                                       identify any additional 2024 investments in OpenAI. The Times will
                                                                                       work with Microsoft to reach agreement on a reasonable scope for these
                                                                                       productions, but Microsoft’s blanket relevance objection has hindered
                                                                                       these negotiations.

                                                                                       Microsoft’s position: Since the January 22 hearing, the parties have
                                                                                       made progress in narrowing and resolving disputes over the requests for
                                                                                       production at issue in Plaintiff’s letter motion. Microsoft agrees with
                                                                                       The Times that “category 3” (RFP No. 109) is resolved and “category
                                                                                       1” is partially resolved, specifically as to RFP Nos. 113 and 114 is
                                                                                       resolved.

                                                                                       With respect to the remaining portion of “category 1,” RFP No. 61, it
                                                                                       remains Microsoft’s position that the Court’s prior ruling on the same
                                                                                       issue in Authors Guild should control, which the parties addressed in
                                                                                       their letter briefs. Nonetheless, the parties should continue their
                                                                                       discussion. The Times provided its position to Microsoft after the
                                                                                       January hearing, Microsoft provided a response on February 7, and The
                                                                                       Times responded on February 12; from that response, it appears the
                                                                                       parties need to meet and confer further and possibly consult further with
                                                                                       their clients.

                                                                                       The parties have also had productive discussions with respect to with
                                                                                       respect to RFP No. 123, or “category 2” as phrased by The Times.
                                                                                       Microsoft raised legitimate questions regarding the relevance and scope
                                                                                       of what The Times seeks and is considering The Times’s most recent
                                                                                       position, which was provided on February 12. Microsoft’s written
                                                                                       objections contained precisely these objections, and in the meantime,
                                                                                       Microsoft has sought to understand The Times’s position as to
                                                                                       relevance because, the relevance informs what discovery is
                                                                                       proportionate to the needs of the case. Microsoft does not agree with
                                                                                       The Times’s assertion that collecting the requested documents entails
                                                                                       minimal burden, despite the fact that Microsoft has never opposed the
                                                                                       discovery on burden grounds. The Times’s position suggests that
                                                                                       Microsoft is somehow precluded from raising issues as to both
                                                                                       relevance and burden, but these issues are appropriate for addressing in
                                                                                       a good faith meet and confer process. In any event, the parties are
                                                                                       continuing to meet and confer regarding this request and Microsoft
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                            Opp.
Motion          Date                       Topic in          Party Raising         Party             Status of
                            Dkt.                                                                                                         Parties’ Shorthand Positions
Dkt. No.        Filed                      Dispute             Dispute           Responding          Dispute
                            No.
                                                                                                                    expects that the parties will be able to reach an agreement as to at least
                                                                                                                    some portion of this request, if not all of it.




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       All parties whose electronic signatures are included herein have consented to the filing of this document.




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